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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA


 ALASKA INDUSTRIAL DEVELOPMENT
 AND EXPORT AUTHORITY,

                    Plaintiff,

    v.

 U.S. DEPARTMENT OF THE INTERIOR,
 et al.,                                             Case No. 3:24-cv-00051-SLG

                    Defendants,
    and

 GWICH’IN STEERING COMMITTEE,
 et al.,

                    Intervenor-Defendants.


               DEFENDANTS’ MEMORANDUM IN OPPOSITION TO
             PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT AND
          IN SUPPORT OF CROSS-MOTION FOR SUMMARY JUDGMENT

AIDEA v. U.S. Dep’t of the Interior                           Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.


         Case 3:24-cv-00051-SLG       Document 52   Filed 06/07/24   Page 1 of 51
                                             TABLE OF CONTENTS


INTRODUCTION ............................................................................................................... 1
BACKGROUND ................................................................................................................. 2
         I.        Legal Background ......................................................................................... 2
                   A.        Alaska National Interest Lands Conservation Act ............................. 2
                   B.        Tax Cuts and Jobs Act of 2017 .......................................................... 3
                   C.        National Environmental Policy Act ................................................... 4
         II.       Factual and Procedural Background ............................................................. 5
                   A.        The Program’s Establishment and First Lease Sale ........................... 5
                   B.        Suspension of the Program and Lease Activity ................................. 6
                   C.        The Lease Cancellation Decision ....................................................... 8
STANDARD OF REVIEW ............................................................................................... 10
ARGUMENT..................................................................................................................... 11
         I.        All of Plaintiffʼs Claims Can Be Resolved on Summary Judgment ........... 12

         II.       DOI Properly Invoked the Secretaryʼs Discretion to Cancel Leases .......... 13

                   A.        The Identified Legal Deficiencies Justify Cancellation ................... 14
                   B.        DOI Was Not Required to Take an Approach Other than
                             Cancellation ...................................................................................... 21
         III.      AIDEAʼs Political Pretext Claim Fails........................................................ 24

         IV.       Cancellation Did Not Deprive AIDEA of Due Process .............................. 28
                   A.        Constitutional Due Process .............................................................. 28
                   B.        Statutory Due Process ...................................................................... 33
         V.        Petroleum Reserve Regulations Do Not Preclude Lease Cancellation ....... 36
         VI.       Remedy ........................................................................................................ 41
CONCLUSION ................................................................................................................. 42



AIDEA v. U.S. Dep’t of the Interior                                                         Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                                                     i


         Case 3:24-cv-00051-SLG                    Document 52               Filed 06/07/24            Page 2 of 51
                                          TABLE OF AUTHORITIES
                                                                                                                      Page(s)
Cases
350 Montana v. Haaland,
  50 F.4th 1254 (9th Cir. 2022) .................................................................................... 9, 19
Air N. Am. v. Dep’ t of Transp.,
  937 F.2d 1427 (9th Cir. 1991) ....................................................................................... 34
Alaska Indus. Dev. & Exp. Auth. v. Biden,
  685 F. Supp. 3d 813 (D. Alaska 2023) ................................................................... passim
Alaska Wilderness League v. Jewell,
  788 F.3d 1212 (9th Cir. 2015) ....................................................................................... 18
Allied-Signal, Inc. v. U.S. Nuclear Regul. Comm’ n,
  988 F.2d 146 (D.C. Cir. 1993) ....................................................................................... 41
Am. Petroleum Inst. v. Env’t Def. Ctr.,
 143 S. Ct. 2582 (2023) ..................................................................................................... 5
Amoco Prod. Co. v. Fry,
 118 F.3d 812 (D.C. Cir. 1997) ................................................................................. 28, 29
Anchustegui v. Dep’t of Agric.,
  257 F.3d 1124 (9th Cir. 2001) ....................................................................................... 35
Anderson v. Liberty Lobby, Inc.,
  477 U.S. 242 (1986) ....................................................................................................... 13
Belmont Municipal Light Department v. FERC,
  38 F.4th 173 (D.C. Cir. 2022) .................................................................................. 22, 23
Belville Min. Co. v. United States,
  999 F.2d 989 (6th Cir. 1993) ................................................................................... 26, 27
Biden v. Texas,
  597 U.S. 785 (2022) ....................................................................................................... 25
Boesche v. Udall,
  373 U.S. 472 (1963) ................................................................................................ passim
Bradley v. Vill. of Univ. Park, Illinois,
  59 F.4th 887 (7th Cir. 2023) .......................................................................................... 29
Cal. Cmtys. Against Toxics v. EPA,
  688 F.3d 989 (9th Cir. 2012) ......................................................................................... 41



AIDEA v. U.S. Dep’t of the Interior                                                      Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                                                 ii


         Case 3:24-cv-00051-SLG                   Document 52              Filed 06/07/24           Page 3 of 51
Cal. Sportfishing Prot. All. v. Lake Wildwood Ass’n,
  No. CV S 06 1026 WBS EFB, 2006 WL 2734370 (E.D. Cal. Sept. 25, 2006)............. 34
Cameron v. United States,
  252 U.S. 450 (1920) ....................................................................................................... 14
Center for Biological Diversity v. Bernhardt,
  982 F.3d 723 (9th Cir. 2020) ................................................................................. 7, 9, 19
Citizens to Preserve Overton Park, Inc. v. Volpe,
  401 U.S. 402 (1971) ....................................................................................................... 13
Clarke v. Commodity Futures Trading Comm’n,
  74 F.4th 627 (5th Cir. 2023) .......................................................................................... 35
Cleveland Bd. of Educ. v. Loudermill,
  470 U.S. 532 (1985) ....................................................................................................... 30
Conner v. Burford,
  848 F.2d 1441 (9th Cir. 1988) ....................................................................................... 29
Consumer Elecs. Ass’n v. FCC,
  347 F.3d 291 (D.C. Cir. 2003) ....................................................................................... 14
Cook Inletkeeper v. Raimondo,
  541 F. Supp. 3d 987 (D. Alaska 2021) .......................................................................... 22
Dakota Res. Council v. U.S. Dep’t of the Interior,
 No. 22-CV-1853 (CRC), 2024 WL 1239698 (D.D.C. Mar. 22, 2024) ......................... 19

Dallas Safari Club v. Bernhardt,
 518 F. Supp. 3d 535 (D.D.C. 2021) ............................................................................... 25
Dep’t of Com. v. New York,
 139 S. Ct. 2551 (2019) ....................................................................................... 13, 25, 26
Dep’t of Transp. v. Pub. Citizen,
 541 U.S. 752 (2004) ....................................................................................................... 18
Env’t Def. Ctr. v. Bureau of Ocean Energy Mgmt.,
  36 F.4th 850 (9th Cir. 2022) ............................................................................................ 5
Estado de Sinaloa, A.C. v. United States,
  32 F.4th 1130 (Fed. Cir. 2022) ...................................................................................... 25
Ewing v. Mytinger & Casselberry, Inc.,
 339 U.S. 594 (1950) ....................................................................................................... 31
Fence Creek Cattle Co. v. U.S. Forest Serv.,
  602 F.3d 1125 (9th Cir. 2010) ....................................................................................... 35
AIDEA v. U.S. Dep’t of the Interior                                                      Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                                                 iii


         Case 3:24-cv-00051-SLG                   Document 52              Filed 06/07/24           Page 4 of 51
Finnbin, LLC v. Consumer Product Safety Commission,
  45 F.4th 127 (D.C. Cir. 2022) ........................................................................................ 22
Flint Ridge Dev. Co. v. Scenic Rivers Ass’n of Oklahoma,
  426 U.S. 776 (1976) ....................................................................................................... 17
Friends of Animals v. Haaland,
  997 F.3d 1010 (9th Cir. 2021) ....................................................................................... 11
Friends of the Earth v. Haaland,
  583 F. Supp. 3d 113 (D.D.C. 2022) ........................................................................... 9, 19
Friends of the Earth v. Haaland,
  No. 22-5036, 2023 WL 3144203 (D.C. Cir. Apr. 28, 2023) ................................... 17, 18
Gallagher & Ascher Co. v. Simon,
 687 F.2d 1067 (7th Cir. 1982) ....................................................................................... 34
Gwich’in Steering Comm. v. Bernhardt,
 No. 3:20-CV-204-SLG et al. (D. Alaska Jan. 5, 2021) ................................. 2, 3, 5, 6, 17
High Country Conservation Advocs. v. U.S. Forest Serv.,
  67 F. Supp. 3d 1262 (D. Colo. 2014)............................................................................. 23
Hodel v. Va. Surface Min. & Reclamation Ass’n, Inc.,
 452 U.S. 264 (1981) ....................................................................................................... 30
Hoopa Valley Tribe v. U.S. Bureau of Reclamation,
 648 F. Supp. 3d 1196 (E.D. Cal. 2022) ......................................................................... 30
In re Big Thorne Project,
  857 F.3d 968 (9th Cir. 2017) ......................................................................................... 11
Ivy Sports Medicine, LLC v. Burwell,
  767 F.3d 81 (D.C. Cir. 2014) ......................................................................................... 26
Jamul Action Comm. v. Chaudhuri,
  837 F.3d 958 (9th Cir. 2016) ................................................................................... 16, 18
Lum v. Kauai City Council,
  358 F. App’x 860 (9th Cir. 2009) .................................................................................. 30
Lum v. Kauai Cnty. Council,
  No. CIV 06-00068 SOM/BMK, 2007 WL 1482403 (D. Haw. May 18, 2007) ............ 30
Mathews v. Eldridge,
 424 U.S. 319 (1976) ................................................................................................. 29, 30
Monsanto Co. v. Geertson Seed Farms,
 561 U.S. 139 (2010) ....................................................................................................... 22

AIDEA v. U.S. Dep’t of the Interior                                                      Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                                                 iv


         Case 3:24-cv-00051-SLG                   Document 52              Filed 06/07/24           Page 5 of 51
Municipality of Anchorage v. United States,
 980 F.2d 1320 (9th Cir. 1992) ....................................................................................... 16

N.Y. Pathological & X-Ray Labʼys, Inc. v. Immigr. & Naturalization Serv.,
  523 F.2d 79 (2d Cir. 1975) ............................................................................................ 34
Nat. Res. Def. Council, Inc. v. EPA,
  822 F.2d 104 (D.C. Cir. 1987) ......................................................................................... 5
Nat’l Ass’n of Home Builders v. Defs. of Wildlife,
  551 U.S. 644 (2007) ....................................................................................................... 18
PDK Lab’ys Inc. v. DEA,
 362 F.3d 786 (D.C. Cir. 2004) ....................................................................................... 41
Pit River Tribe v. U.S. Forest Serv.,
  469 F.3d 768 (9th Cir. 2006) ......................................................................................... 12
River Runners for Wilderness v. Martin,
  593 F.3d 1064 (9th Cir. 2010) ....................................................................................... 11
Robertson v. Methow Valley Citizens Council,
  490 U.S. 332 (1989) ......................................................................................................... 5
San Luis & Delta-Mendota Water Auth. v. Jewell,
  747 F.3d 581 (9th Cir. 2014) ......................................................................................... 17
Shanks v. Dressel,
  540 F.3d 1082 (9th Cir. 2008) ................................................................................. 28, 29
Shiny Rock Min. Corp. v. United States,
  825 F.2d 216 (9th Cir. 1987) ......................................................................................... 29
Sierra Club v. EPA,
  995 F.2d 1478 (9th Cir. 1993) ....................................................................................... 32
Silver State Land, LLC v. Schneider,
   843 F.3d 982 (D.C. Cir. 2016) ....................................................................................... 14
Sovereign Iñupiat for a Living Arctic v. Bureau of Land Mgmt.,
  2023 WL 7410730 (D. Alaska Nov. 9, 2023).......................................................... 19, 27
Sovereign Iñupiat for a Living Arctic v. Bureau of Land Mgmt.,
  555 F. Supp. 3d 739 (D. Alaska 2021) ...................................................... 8, 9, 19, 20, 23
Stand Up for California! v. U.S. Dep’t of the Interior,
  959 F.3d 1154 (9th Cir. 2020) ....................................................................................... 17



AIDEA v. U.S. Dep’t of the Interior                                                       Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                                                  v


         Case 3:24-cv-00051-SLG                    Document 52             Filed 06/07/24            Page 6 of 51
Texaco, Inc. v. Hickel,
  437 F.2d 636 (D.C. Cir. 1970) ....................................................................................... 15
Texas Oil & Gas Corp. v. Andrus,
  498 F. Supp. 668 (D.D.C. 1980) .................................................................................... 15
Texas Oil & Gas Corp. v. Watt,
  683 F.2d 427 (D.C. Cir. 1982) ....................................................................................... 15
Turtle Island Restoration Network v. U.S. Dep’t of Com.,
  878 F.3d 725 (9th Cir. 2017) ......................................................................................... 11
United States v. Wood, Wire & Metal Lathers Int’l Union, Loc. Union No. 46,
 471 F.2d 408 (2d Cir. 1973) .......................................................................................... 30
Ursack Inc. v. Sierra Interagency Black Bear Group,
  639 F.3d 949 (9th Cir. 2011) ................................................................................... 35, 36
Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
  463 U.S. 29 .............................................................................................................. 11, 35
Wade v. Goldschmidt,
 673 F.2d 182 (7th Cir. 1982) ......................................................................................... 32
Winkler v. Andrus,
 614 F.2d 707 (10th Cir. 1980) ....................................................................................... 14
Winter v. Nat. Res. Def. Council, Inc.,
 555 U.S. 7 (2008) ............................................................................................................. 4
Statutes
16 U.S.C. §§ 3141-3151 .................................................................................................. 3

30 U.S.C. §226 ................................................................................................................ 38

42 U.S.C. § 4332(C) .......................................................................................................... 4

42 U.S.C. § 6501 ............................................................................................................. 36

43 U.S.C. § 2 ................................................................................................................... 14

5 U.S.C. § 558(c) ................................................................................................. 33, 34, 36

5 U.S.C. § 558(c)(2) ........................................................................................................ 34

5 U.S.C. §§ 701-06 ........................................................................................................ 10

AIDEA v. U.S. Dep’t of the Interior                                                         Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                                                    vi


         Case 3:24-cv-00051-SLG                     Document 52              Filed 06/07/24            Page 7 of 51
Pub. L. No. 117-169 .................................................................................................... 17, 18
Pub. L. No. 115-97 .............................................................................................................. 3
Pub. L. No. 96-487 .............................................................................................................. 2
Rules
Fed. R. Civ. P. 56(c) .......................................................................................................... 13
Regulations
43 C.F.R. § 3136.3 (2024) ............................................................................................... 37

Other Authorities
Executive Order 13990 .................................................................................................. 6, 27




AIDEA v. U.S. Dep’t of the Interior                                                         Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                                                   vii


         Case 3:24-cv-00051-SLG                     Document 52             Filed 06/07/24            Page 8 of 51
                                      INTRODUCTION

       The Alaska Industrial Development and Export Authority (“AIDEA”) here

challenges a decision by the U.S. Department of the Interior (“DOI”) to cancel seven

leases acquired by AIDEA in the first-ever lease sale under the Coastal Plain Oil and Gas

Leasing Program for the Arctic National Wildlife Refuge (the “Program”). AIDEA

moves for summary judgment on all but one of its claims, and Defendants hereby oppose

that motion and cross-move for summary judgment on all claims.

       DOI cancelled AIDEA’s leases because of serious legal deficiencies in the

Program’s creation. DOI is addressing these deficiencies through additional analysis

under the National Environmental Policy Act (“NEPA”), in order to bring the Program

into legal compliance and provide a proper basis for conducting a December 2024 lease

sale. This Court found sufficient a similar rationale in upholding DOI’s initial decision to

suspend lease implementation. That rationale, augmented by further information

developed during the additional NEPA analysis, is equally compelling to justify lease

cancellation.

       AIDEA primarily argues that Congress mandated its leases be issued, making

NEPA compliance irrelevant. But Congress did not exempt the Program from NEPA or

mandate that AIDEA’s particular leases be issued, and, even if it had, it certainly did not

mandate the specific terms and conditions of those leases. DOI possesses broad

discretion in determining how to implement the Program, subject to applicable law

including NEPA. Upon rejection of AIDEA’s foundational and false premise, its


AIDEA v. U.S. Dep’t of the Interior                             Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                        1


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24    Page 9 of 51
additional arguments all fail. AIDEA’s leases were appropriately cancelled because they

could only properly come into existence under a lawful Program, and subsequent review

has shown the Program suffered from significant pre-leasing legal defects. The Court

should deny AIDEA’s motion and enter judgment in favor of Defendants.

                                      BACKGROUND

       The Court (and parties) are familiar with evolution of the Program and AIDEA’s

leases. See, e.g., Gwich’in Steering Comm. v. Bernhardt, Nos. 3:20-CV-00204-SLG,

3:20-cv-00205-SLG, 3:20-cv-00223-SLG, 2021 WL 46703 (D. Alaska Jan. 5, 2021);

Alaska Indus. Dev. & Exp. Auth. v. Biden, 685 F. Supp. 3d 813 (D. Alaska 2023)

(“AIDEA”). This background discussion will provide a brief recap and focus on the

challenged lease cancellation decision.

       I.     Legal Background

       A.     Alaska National Interest Lands Conservation Act

       The Alaska National Interest Lands Conservation Act (“ANILCA”) sought, in

broad terms, to balance natural resource conservation and development in Alaska. See

Alaska National Interest Lands Conservation Act, Pub. L. No. 96-487, 94 Stat. 2371,

2371-2551 (1980). Among conservation unit designations for tens of millions of acres,

ANILCA established the Arctic National Wildlife Refuge at the northeastern corner of

Alaska’s North Slope, expanding the prior Arctic National Wildlife Range to include

more than 19 million acres, of which approximately 8 million acres were designated as

wilderness. The purposes of the Refuge include “conserv[ing] fish and wildlife


AIDEA v. U.S. Dep’t of the Interior                             Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                        2


     Case 3:24-cv-00051-SLG           Document 52   Filed 06/07/24    Page 10 of 51
populations and habitats in their natural diversity[,]” “provid[ing] . . . the opportunity for

continued subsistence uses [of fish and wildlife] by local residents[,]” and “ensur[ing] . . .

water quality and necessary water quantity within the refuge.” ANILCA § 302, 94 Stat.

at 2385, 2390. ANILCA Title X, 16 U.S.C. §§ 3141-3151, prohibited oil and gas leasing

and development in the Refuge, but excluded a 1.56 million acre area bordering the

Arctic Ocean known as the Coastal Plain from wilderness designation and provided that,

following an agency report, Congress might take future action to authorize oil and gas

leasing in the Coastal Plain. See Gwich’in Steering Comm., 2021 WL 46703, at *2. The

Secretary of the Interior submitted the report to Congress in 1987, recommending

enactment of legislation “to conduct an orderly oil and gas leasing program” for the

Coastal Plain. Id. Roughly four decades later, President Trump signed into law the Tax

Cuts and Jobs Act of 2017, Pub. L. No. 115-97, § 20001, 131 Stat. 2054, 2236-37 (2017)

(“Tax Act”). Id.

       B.     Tax Cuts and Jobs Act of 2017

       The Tax Act provides that “[t]he Secretary shall establish and administer a

competitive oil and gas program for the leasing, development, production, and

transportation of oil and gas in and from the Coastal Plain.” Tax Act § 20001(b)(2)(A).

The Act makes “provid[ing] for an oil and gas program on the Coastal Plain” one of the

statutory purposes for the Refuge, in addition to the conservation and subsistence

purposes established in ANILCA. Id. § (b)(2)(B)(v).

       The Act further addresses certain aspects of the Program, directing that “the


AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          3


      Case 3:24-cv-00051-SLG          Document 52      Filed 06/07/24    Page 11 of 51
Secretary shall conduct not fewer than 2 lease sales area-wide under the oil and gas

program under this section by not later than 10 years after” the Tax Act’s enactment on

December 22, 2017. Id. § (c)(1)(A). The Secretary “shall offer” “not fewer than 400,000

acres area-wide in each lease sale” to include “those areas that have the highest potential

for the discovery of hydrocarbons.” Id. § (c)(1)(B)(i). The Secretary “shall offer” the

initial lease sale not later than December 22, 2021, and the second lease sale not later

than December 22, 2024. Id. § (c)(1)(B)(ii). Further, the Secretary “shall issue any

rights-of-way or easements across the Coastal Plain for the exploration, development,

production, or transportation necessary to carry out this section.” Id. § (c)(2). Finally,

the Secretary “shall authorize up to 2,000 surface acres of Federal land on the Coastal

Plain to be covered by production and support facilities (including airstrips and any area

covered by gravel berms or piers for support of pipelines) during the term of the

leases[.]” Id. § (c)(3). The Court has interpreted the Tax Act to create “a statutory

mandate to conduct lease sales by dates certain” while otherwise reflecting a “broad grant

of authority [to DOI] . . . to implement and operate the Program, provided it does so in

accordance with all applicable federal laws.” AIDEA, 685 F. Supp. 3d at 833.

       C.     National Environmental Policy Act

       NEPA seeks to ensure that federal agencies consider the environmental impacts of

proposed major federal actions. 42 U.S.C. § 4332(C); see also Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 16 (2008). Such review both informs agency decision-makers

of the significant environmental effects of proposed major federal actions and ensures


AIDEA v. U.S. Dep’t of the Interior                              Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                         4


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24    Page 12 of 51
that relevant information is made available so the public may “play a role in both the

decisionmaking process and the implementation of that decision.” Robertson v. Methow

Valley Citizens Council, 490 U.S. 332, 349 (1989). “Other statutes may impose

substantive environmental obligations on federal agencies, but NEPA merely prohibits

uninformed – rather than unwise – agency action.” Id. at 351 (footnote omitted). NEPA

thus imposes purely procedural requirements, and “does not require that certain outcomes

be reached as a result of the evaluation.” Nat. Res. Def. Council, Inc. v. EPA, 822 F.2d

104, 129 (D.C. Cir. 1987). However, where an agency’s effort to address these

procedural requirements has sufficiently serious flaws, then vacatur is “the presumptive

remedy for agency action that violates the NEPA[.]” Env’t Def. Ctr. v. Bureau of Ocean

Energy Mgmt., 36 F.4th 850, 882 (9th Cir. 2022) (citation omitted), cert. denied sub nom.

Am. Petroleum Inst. v. Env’t Def. Ctr., 143 S. Ct. 2582 (2023).

       II.    Factual and Procedural Background

       A.     The Program’s Establishment and First Lease Sale

       Following passage of the Tax Act, DOI outlined the Program and reviewed its

environmental impacts under NEPA, publishing an environmental impact statement

(“EIS”) in September 2019. AIDEA, 685 F. Supp. 3d at 825. After issuing a Record of

Decision (“ROD”) in August 2020, DOI initiated efforts in late 2020 to conduct the first

lease sale under the new Program. See Gwich’in Steering Comm., 2021 WL 46703 at *3

(describing November 17, 2020, call for nominations and December 7, 2020, notice of

lease sale to be conducted on January 6, 2021). Four lawsuits were filed with this Court


AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          5


     Case 3:24-cv-00051-SLG           Document 52   Filed 06/07/24      Page 13 of 51
challenging the ROD and EIS establishing the Program, and Plaintiffs in Gwich’in

Steering Committee and two other cases unsuccessfully sought preliminary injunctive

relief to prohibit the issuance of leases under the Program. Id. at *4. The lease sale

proceeded on January 6, 2021, where AIDEA posted minimum bids and ultimately

“secured leases for seven tracts of land.” AIDEA, 685 F. Supp. 3d at 825.1 AIDEA’s

leases were issued by the State Director of the Bureau of Land Management for Alaska

on January 13, 2021.

       B.     Suspension of the Program and Lease Activity

       On January 20, 2021, President Biden issued Executive Order 13990, which, in

part, “directed DOI to conduct a supplemental environmental review of the Program and,

during the pendency of such review, temporarily halt all activities related to the Coastal

Plain oil and gas leases.” Id. at 826; AR 3351.

       Thereafter, on June 1, 2021, Interior Secretary Haaland issued Secretary’s Order

3401, “which instructed DOI and BLM officials to conduct the supplemental

environmental review and instituted a ‘temporary halt on all Department activities related

to the Program in the Arctic Refuge’ while that supplemental review was being




1
        AIDEA was the high bidder on two additional lease tracts but subsequently
abandoned those bids. Compare AR 3314 with AR 3347. Two other bidders – Knik Arm
Services, LLC, and Regenerate Alaska, Inc. – also each obtained a lease for one tract of
land. AIDEA, 685 F. Supp. 3d at 825-26. However, they each sought and obtained an
agreement whereby the Bureau of Land Management (“BLM”) cancelled and rescinded
their leases and refunded their bonus bid and first year’s rental payments. See AR 3782-
92.
AIDEA v. U.S. Dep’t of the Interior                             Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                        6


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24    Page 14 of 51
conducted.” AIDEA, 685 F. Supp. 3d at 826 (quoting AR 3362). Specifically, the

Secretary explained that her review:

       identified multiple legal deficiencies in the underlying record supporting
       the leases, including, but not limited to: (1) insufficient analysis under
       [NEPA], including failure to adequately analyze a reasonable range of
       alternatives in the [EIS]; and (2) failure in the [ROD] to properly interpret
       Section 20001 of [the Tax Act].

Id.

       The same day, DOI issued a Decision to AIDEA entitled “Suspension of

Operation and Production.” AR 3364. That Decision elaborated on the legal deficiencies

identified in the Secretary’s Order, noting that “the recent Ninth Circuit opinion

involving the Liberty Project in Alaska, Center for Biological Diversity v. Bernhardt,

[982 F.3d 723 (9th Cir. 2020)], has implications for the analysis of foreign greenhouse

gas [“GHG”] emissions in many of its programs and projects, including those already in

litigation, like the [Program].” AR 3365. The Decision thus suspended AIDEA’s leases

during the “further environmental analysis,” advised the analysis would “determine

whether the leases should be reaffirmed, voided or subject to additional mitigation

measures,” and provided that during the suspension “no lease operations may transpire on

the leases, the terms of the leases are tolled, and lease rentals are suspended.” Id.

       A subsequent Decision dated August 19, 2022, elaborated on the implications of

the referenced Center for Biological Diversity precedent (hereinafter, “Liberty”) and

noted this Court’s determination “that BLM’s exclusion of foreign GHG emissions in its

alternatives analysis in the Willow Project EIS was arbitrary and capricious.” AR 3404;


AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          7


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24     Page 15 of 51
see also Sovereign Iñupiat for a Living Arctic v. Bureau of Land Mgmt., 555 F. Supp. 3d

739, 762-67 (D. Alaska 2021) (“Sovereign Iñupiat I”). “Recognizing that the BLM also

excluded foreign GHG emissions from its analysis of alternatives in the Coastal Plain EIS

for the same basic reasons cited in the Willow Project EIS, [DOI] . . . has now identified

this exclusion as an additional specific legal defect” supporting lease suspension. AR

3404. The Decision noted that BLM would be conducting a supplemental EIS to analyze

the Program, stating:

       The BLM is conducting the additional NEPA analysis to determine whether
       the leases should be affirmed, voided or subject to additional mitigation
       measures. Once sufficient information is developed, the BLM will issue a
       new decision concerning this suspension of operations and production
       (SOP) of the above-referenced [Coastal Plain] leases.

AR 3405 (emphasis added). AIDEA, along with co-plaintiffs North Slope Borough,

Arctic Slope Regional Corporation, Kaktovik Iñupiat Corporation, and intervenor-

plaintiff State of Alaska brought suit challenging the suspension of activity under the

Program and the leases. This Court ruled in DOI’s favor and dismissed those challenges.

See AIDEA, 685 F. Supp. 3d 813.2

       C.     The Lease Cancellation Decision

       DOI issued a Draft Supplemental EIS on September 6, 2023. See AR 3930

(explaining that the new “Leasing SEIS” is intended “to address deficiencies in the

previous NEPA analysis” of the Program’s 2019 EIS and 2020 ROD). On the same day,

DOI issued a Decision entitled “Lease Cancellation” reflecting the agency’s

2
      AIDEA and its co-plaintiffs have appealed from the Court’s decision, with their
opening brief presently due on September 16, 2024.
AIDEA v. U.S. Dep’t of the Interior                             Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                        8


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24    Page 16 of 51
determination that AIDEA’s leases “were improperly issued due to pre-leasing defects”

and concluding “that cancellation is appropriate.” AR 5353.

       The Cancellation Decision first recognized the Secretary’s “inherent authority,

under her general managerial power over public lands, to cancel or suspend oil and gas

leases issued in violation of a statute or regulation.” AR 5355 (citing Boesche v. Udall,

373 U.S. 472 (1963)). The Decision addressed multiple legal defects “in the record

supporting the leases[.]” AR 5356. The first two included BLM’s failure to properly

interpret the Tax Act’s 2,000-acre provision, causing the 2019 EIS to improperly

constrain BLM’s discretion because every action alternative “involved exactly 2,000

acres of surface development” despite the Tax Act’s language allowing alternatives that

might authorize lesser disturbance “up to 2,000 surface acres.” Id. (quoting Tax Act §

20001(c)(3)). Additionally, the Decision analyzed the 2019 EIS’s failure to adequately

quantify downstream GHG emissions as clarified by subsequently evolved case law in

Liberty, 982 F.3d 723; Sovereign Iñupiat I, 555 F. Supp. 3d 739; Friends of the Earth v.

Haaland, 583 F. Supp. 3d 113 (D.D.C. 2022); and 350 Montana v. Haaland, 50 F.4th

1254 (9th Cir. 2022). AR 5357-58. As a result, DOI “determined that the legal

deficiencies undergirding the original lease sale were sufficiently serious and

fundamental to the decision-making process to justify addressing the underlying issues in

a completely new analysis rather than trying to rectify past errors through remedial

NEPA analysis.” AR 5358.




AIDEA v. U.S. Dep’t of the Interior                             Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                        9


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24    Page 17 of 51
       DOI further addressed the Decision’s timing, explaining that “[w]hile the original

suspension order indicated that the Department might complete the NEPA process before

deciding whether to cancel the leases, we also noted in the addendum to the original lease

suspension that ‘[o]nce sufficient information is developed, BLM will issue a new

decision concerning this suspension of operations.’” Id. (quoting AR 3405). “As set

forth above [in the Cancellation Decision], that information has been revealed at the draft

Supplemental [EIS] stage.” AR 5358. The Decision further explains “there are practical

considerations that support cancelling the invalidly-issued leases now” because doing so

“will enable the Department to consider whether some or all of the areas at issue in these

leases may be offered in the second lease sale contemplated by the Tax Act[,]” that there

is “value [in] finality for all interested parties vis-à-vis the subject leases[,]” and that

“disruptive consequences . . . from cancellation are minimal.” AR 5358-59.

       AIDEA brought this challenge to the Cancellation Decision by filing a complaint

on October 18, 2023.

                                 STANDARD OF REVIEW

       Courts review agency decisions under the Administrative Procedure Act (“APA”),

5 U.S.C. §§ 701-06. In such review a court shall “hold unlawful and set aside agency

action, findings, and conclusions found to be . . . arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law,” “in excess of statutory jurisdiction,”

or “without observance of procedure required by law.” Id. § 706(2). Under the

arbitrary and capricious standard, the scope of review is deferential and narrow, and the


AIDEA v. U.S. Dep’t of the Interior                                 Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                            10


      Case 3:24-cv-00051-SLG          Document 52       Filed 06/07/24      Page 18 of 51
court is not to substitute its judgment for that of the agency. Friends of Animals v.

Haaland, 997 F.3d 1010, 1015 (9th Cir. 2021); see also River Runners for Wilderness v.

Martin, 593 F.3d 1064, 1070 (9th Cir. 2010) (per curiam) (the APA “does not allow the

court to overturn an agency decision because it disagrees with the decision”) (citations

omitted). An agency must “articulate a satisfactory explanation for its action,” and a

court may find an agency decision arbitrary and capricious if the agency “has relied on

factors which Congress has not intended it to consider, entirely failed to consider an

important aspect of the problem, offered an explanation for its decision that runs counter

to the evidence before the agency, or . . . is so implausible that it could not be ascribed to

a difference in view or the product of agency expertise.” Turtle Island Restoration

Network v. U.S. Dep’t of Com., 878 F.3d 725, 732-33 (9th Cir. 2017) (citing Motor

Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983)) (internal quotation marks omitted). The judgments of land management

agencies, like DOI, “often require trade-offs among worthy objectives . . . Congress left

such judgments to a politically responsive agency with relevant expertise.” In re Big

Thorne Project, 857 F.3d 968, 976 (9th Cir. 2017) (citation omitted).

                                       ARGUMENT

       AIDEA’s claims are all deficient as a matter of law. The first claim of the

Amended Complaint contends that DOI need not comply with NEPA in establishing the

Program or issuing leases thereunder. But this Court has properly rejected that

contention under established law. And AIDEA’s claim that DOI acted arbitrarily and


AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          11


      Case 3:24-cv-00051-SLG          Document 52      Filed 06/07/24    Page 19 of 51
capriciously in cancelling its leases should be rejected because the Secretary has inherent

authority to cancel leases suffering pre-leasing defects as they rely on the unlawfully

established Program. The political pretext claim too fails in light of DOI’s reasonable

and well-supported rationale for lease cancellation. AIDEA’s constitutional and due

process claims fail because AIDEA’s unlawfully issued leases did not create a protected

property interest and AIDEA was unable, and thus not improperly deprived of any

opportunity, to cure the Program’s legal deficiencies. Finally, regulations addressing

lease cancellation for lessee noncompliance do not constrain the Secretary’s inherent

authority to cancel unlawfully issued leases. The Court should rule in Defendants’ favor

and dismiss this case.

       I.     All of Plaintiff’s Claims Can Be Resolved on Summary Judgment

       The scheduling order (ECF No. 49) contemplates resolution of this case on cross

motions for summary judgment, consistent with this Court’s observation that a motion for

summary judgment “is an appropriate mechanism to seek review of an agency action.”

AIDEA, 685 F. Supp. 3d at 829 n.56 (citations omitted); see also Pit River Tribe v. U.S.

Forest Serv., 469 F.3d 768, 778 (9th Cir. 2006) (indicating a court may direct entry of

summary judgment to any party based on review of the administrative record).

       Under this standard, Defendants hereby move for judgment on the entirety of

Plaintiff’s Amended Complaint. Plaintiff’s initial motion filed May 3 seeks summary

judgment on “each of AIDEA’s pleaded claims, with the exception of Count II(b), the

‘pretext’ claim, which will be briefed later.” Pl.’s Opening Summ. J. Br. 7, ECF No. 50


AIDEA v. U.S. Dep’t of the Interior                             Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                        12


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24    Page 20 of 51
(“Pl.’s Opening Br.”).3 But, as with all other claims, the “pretext claim” can and should

be resolved on summary judgment based on the Court’s review of the administrative

record. This is the presumptive course for all APA claims, including claims involving

allegations of pretext, as the mere possibility of “unstated reasons” or “political

considerations” would not justify expanding review beyond the record absent “a ‘strong

showing of bad faith or improper behavior’”. See Dep’t of Com. v. New York, 139 S. Ct.

2551, 2573-74 (2019) (quoting Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S.

402, 420 (1971)). And because none of these exceptions have been satisfied, “there is no

genuine issue as to any material fact” such as would prevent entry of summary judgment

here. See Fed. R. Civ. P. 56(c) (emphasis added); see also Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 247-48 (1986) (“[T]he mere existence of some alleged factual dispute

between the parties will not defeat an otherwise properly supported motion for summary

judgment; the requirement is that there be no genuine issue of material fact[,]” where

materiality is determined by reference to the applicable substantive law).

       II.    DOI Properly Invoked the Secretary’s Discretion to Cancel Leases

       The lynchpin of AIDEA’s case is the flawed assertion that the Secretary lacks

inherent authority to cancel leases that were “statutorily mandated and thus non-

discretionary[.]” Pl.’s Opening Br. 8, 24; see also Am. Compl. ¶ 49 (Count I), ¶ 57

(Count II(A)), ECF No. 11. This assertion contradicts the plain statutory text of the Tax




3
      Throughout this brief, the citations to Plaintiff’s filings refer to the ECF-stamped
page numbers from the docket.
AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          13


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24     Page 21 of 51
Act, this Court’s prior interpretation of the Tax Act, relevant case law, and common

sense. At the removal of this illusory lynchpin, AIDEA’s case falls apart.

       A.     The Identified Legal Deficiencies Justify Cancellation

       The Cancellation Decision proceeds from the general proposition that “[t]he

Secretary has inherent authority, under her general managerial power over public lands,

to cancel or suspend oil and gas leases issued in violation of a statute or regulation.” AR

5355 (citing Boesche v. Udall, 373 U.S. 472 (1963)). The Secretary is empowered to

“perform all executive duties . . . in anywise respecting” the “public lands of the United

States[.]” 43 U.S.C. § 2. This provision “vest[s] the Secretary with general managerial

powers over the public lands.” Boesche, 373 U.S. at 476 & n.6; see also Cameron v.

United States, 252 U.S. 450, 459-60 (1920). Because “statutes written in broad,

sweeping language should be given broad, sweeping application,” Consumer Elecs. Ass’n

v. FCC, 347 F.3d 291, 298 (D.C. Cir. 2003), it is reasonable to conclude that this general

authority enabled the Secretary to “correct [the] errors” of her predecessor that have

become apparent through additional review and recently evolved case law. Boesche, 373

U.S. at 478. This authority has been recognized in numerous factual contexts by various

courts. See Silver State Land, LLC v. Schneider, 843 F.3d 982, 990 (D.C. Cir. 2016)

(Boesche “confirmed the Secretary’s authority to cancel a ‘lease administratively for

invalidity at its inception,’ even after the lease had been issued” (citation omitted));

Winkler v. Andrus, 614 F.2d 707, 711 (10th Cir. 1980) (recognizing the Secretary’s

“broad authority to cancel oil and gas leases for violations of the Mineral Leasing Act


AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          14


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24     Page 22 of 51
[“MLA”] and regulations thereunder, as well as for administrative errors committed

before the lease was issued”); cf. Texas Oil & Gas Corp. v. Andrus, 498 F. Supp. 668,

675 (D.D.C. 1980) (citing Boesche to support cancellation of oil and gas lease improperly

issued inside military base), rev’d sub. nom on other grounds, Texas Oil & Gas Corp. v.

Watt, 683 F.2d 427 (D.C. Cir. 1982); Texaco, Inc. v. Hickel, 437 F.2d 636, 641 (D.C. Cir.

1970) (recognizing the Secretary’s authority “to cancel a lease administratively for

invalidity in its inception” where “a determination required by law had not been made”)

(internal quotation marks and citations omitted).

       AIDEA claims that DOI’s exercise of this inherent cancellation authority was an

“excessive and unnecessary action to terminate AIDEA’s Congressionally-mandated

leases on account of DOI’s own alleged errors in its analysis concerning various issues

ancillary to the non-discretionary issuances of the leases[.]” Am. Compl. ¶ 52; see also

Pl.’s Opening Br. 29 (addressing “DOI’s undoing of the statutorily mandated lease

issuance”) (emphasis added). The Tax Act’s plain text rebuts AIDEA’s position. The

Tax Act says nothing about lease issuance, and certainly does not do so in a way that

would override NEPA. Rather, it provides that “the Secretary shall conduct not fewer

than 2 lease sales,” Tax Act § 20001(c)(1)(A) (emphasis added), and “shall offer” not

fewer than 400,000 acres with the highest potential for discovery of hydrocarbons in the

initial lease sale to be held not later than December 22, 2021, and the second lease sale to

be held not later than December 22, 2024, id. § (c)(1)(B) (emphasis added).




AIDEA v. U.S. Dep’t of the Interior                              Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                         15


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24    Page 23 of 51
       This Court has properly interpreted the statutory text in rejecting previous efforts

by the AIDEA plaintiffs and State of Alaska to constrain DOI’s authority to establish and

administer the Program. Specifically, in AIDEA, the Court ruled:

       DOI’s discretion is constrained by the Tax Act’s mandate to implement the
       Program and conduct the two lease sales within the required timeframe and
       the APA’s requirement to act within a reasonable time. As intimated
       above, Congress could have included additional deadlines requiring
       Agency Defendants to issue any subsequent approvals by a date certain, but
       it chose not to do so. Rather, the Tax Act accords to DOI the discretion to
       implement the Program in a manner consistent with the Tax Act and
       consistent with ANILCA’s purposes, which include environmental
       conservation along with the newly added purpose of the oil and gas
       program, and also consistent with other applicable federal laws, including
       NEPA.

AIDEA, 685 F. Supp. 3d at 835 (emphasis added). Again, Congress directed that DOI

“conduct” lease sales and “offer” certain lands for lease but was silent on other aspects of

the Program, including the issuance, terms and conditions, and administration of leases.

       In reaching its earlier conclusion, the Court necessarily considered the relevant

law addressing the manner in which Congress can exempt compliance with NEPA. Since

AIDEA fails to address that law, a summary is appropriate. Congress can expressly

exempt the need to conduct NEPA analysis of a particular action. See Municipality of

Anchorage v. United States, 980 F.2d 1320, 1327 (9th Cir. 1992). Or Congress can

implicitly exempt NEPA compliance in “two circumstances” – “First, an agency need not

adhere to NEPA where doing so ‘would create an irreconcilable and fundamental

conflict’ with the substantive statute at issue. Second, in limited instances, a substantive

statute ‘displaces’ NEPA’s procedural requirements.” Jamul Action Comm. v.


AIDEA v. U.S. Dep’t of the Interior                              Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                         16


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24    Page 24 of 51
Chaudhuri, 837 F.3d 958, 963 (9th Cir. 2016) (quoting San Luis & Delta-Mendota Water

Auth. v. Jewell, 747 F.3d 581, 648 (9th Cir. 2014)); see also Flint Ridge Dev. Co. v.

Scenic Rivers Ass’n of Oklahoma, 426 U.S. 776, 788 (1976). None of these exemptions

to NEPA compliance exist here, because the Tax Act “does not foreclose all

consideration of applicable federal laws by the Secretary” nor does it “create any

comparable process for ensuring environmental protection.” Stand Up for California! v.

U.S. Dep’t of the Interior, 959 F.3d 1154, 1164-65 (9th Cir. 2020).

       AIDEA’s cited authority only punctuates these distinctions. In particular, AIDEA

contends that the Tax Act commands issuance of Coastal Plain leases in the same manner

that the Inflation Reduction Act (“IRA”) commanded issuance of Lease Sale 257 offshore

leases. See Pl.’s Opening Br. 8, 28 (citing Friends of the Earth v. Haaland, No. 22-5036,

2023 WL 3144203 (D.C. Cir. Apr. 28, 2023)). But unique language addresses Lease Sale

257 – which had occurred before the IRA was passed – directing “the Secretary . . . to

‘accept the highest valid bid for each tract or bidding unit of Lease Sale 257 . . . and . . .

provide the appropriate lease form to the winning bidder’ within 30 days of the [IRA’s]

enactment.” Id. at *1 (quoting IRA, Pub. L. 117-169, § 50264(b)(1), 136 Stat. 1818,

2059-60 (2022)). And “[a]fter then receiving an executed lease form and payment from

the highest bidder, the Secretary must ‘promptly issue to the high bidder a fully executed

lease.’” Friends of the Earth v. Haaland, 2023 WL 3144203, at *1 (quoting IRA §

50264(b)(2)). The D.C. Circuit concluded this language “place[d] a nondiscretionary

obligation on the Department to issue the leases . . . mak[ing] clear that the issuance of


AIDEA v. U.S. Dep’t of the Interior                                Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                           17


      Case 3:24-cv-00051-SLG          Document 52      Filed 06/07/24     Page 25 of 51
the leases is no longer subject to NEPA.” Id. at *2. There is no comparable language in

the Tax Act. Indeed, even the IRA establishes this approach solely for Lease Sale 257.

Elsewhere, the IRA only directs DOI to “conduct” Lease Sales 258, 259, and 261 “in

accordance with” the agency’s specified ROD. Compare IRA § 50264(b) (“Lease Sale

257 Reinstatement”) with id. §§ 50264(c)-(e) (“Requirement” for Lease Sales 258, 259,

and 261).4 The differences show that Congress did not set any timeline in the Tax Act

that could excuse noncompliance with NEPA. See, e.g., Jamul Action Comm., 837 F.3d

at 964 (finding that a statute imposing a 90-day compliance timeline rendered NEPA

inapplicable). Meanwhile, the statutory language in AIDEA’s other cited authority bears,

if possible, even less resemblance to the Tax Act. See Dep’t of Transp. v. Pub. Citizen,

541 U.S. 752 (2004); Alaska Wilderness League v. Jewell, 788 F.3d 1212 (9th Cir.

2015).5




4
        A challenge to Lease Sale 258 involving Alaska’s Cook Inlet is pending before the
Court. See Cook Inletkeeper v. U.S. Dep’t of the Interior, Case No. 3:22-cv-00279-SLG
(D. Alaska). DOI’s interpretation of the IRA here is consistent with its position in Cook
Inletkeeper. See, id., Pls.’ Reply Br. 6, ECF No. 46 (explaining that Defendants do not
join in the State of Alaska’s argument that the IRA exempts Lease Sale 258 from NEPA).
5
       Moreover, the cited cases are procedurally distinguishable. They reflect judicial
deference to the agency’s “reasonable” interpretation of whether an “ambiguous
governing statute” allowed for NEPA analysis. See Alaska Wilderness League, 788 F.3d
at 1220-21; Pub. Citizen, 541 U.S. at 766; see also Nat’l Ass’n of Home Builders v. Defs.
of Wildlife, 551 U.S. 644, 666-67 (2007) (finding reasonable “the implementing agency’s
expert interpretation” that Endangered Species Act (“ESA”) consultation requirements
only apply to actions where there is federal involvement or control). AIDEA seeks the
converse – a judicial determination that the agency unlawfully chose to comply with
NEPA in establishing the Program and conducting the first lease sale.

AIDEA v. U.S. Dep’t of the Interior                            Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                       18


     Case 3:24-cv-00051-SLG           Document 52   Filed 06/07/24    Page 26 of 51
       All of this supports DOI’s conclusion that it was necessary to comply with NEPA

in creating the Program, conducting its first lease sale, and issuing AIDEA’s leases. And

DOI’s conclusion that the relevant decisions suffered fundamental NEPA deficiencies is

plainly apparent, and certainly not arbitrary and capricious. The Cancellation Decision

first explains that the 2019 EIS failed to consider any alternative with less than 2,000

acres of surface development, in contravention to the plain language of the Tax Act. AR

5356-57. The Decision further emphasizes this Court’s ruling in Sovereign Iñupiat I,

where this Court vacated the master development plan for the Willow Project after

finding deficiencies in DOI’s analysis of greenhouse gas emissions under NEPA. See

Sovereign Iñupiat I, 555 F. Supp. 3d at 804. And the Cancellation Decision discussed

that ruling within the context of a recently evolved line of authority making clear the

requirement that a NEPA analysis of certain agency actions relating to potential oil and

gas development must provide a quantitative estimate of downstream GHG emissions

and associated environmental impacts, or sufficiently explain why quantification is not

possible. AR 5357-58 (citing Liberty, 982 F.3d 723; Sovereign Iñupiat I, 555 F. Supp. 3d

739; Friends of the Earth v. Haaland, 583 F. Supp. 3d 113 (D.D.C. 2022); and 350

Montana v. Haaland, 50 F.4th 1254 (9th Cir. 2022)).6 The Cancellation Decision

6
        Subsequent decisions recognize the importance of this analysis, and affirm BLM’s
adaptation to the Liberty line of authority through new methodologies allowing it to
“rectif[y]” prior “deficienc[ies] . . . by including foreign GHG emissions in its
alternatives analysis[.]” Sovereign Iñupiat for a Living Arctic v. Bureau of Land Mgmt.,
F. 3d Supp. , No. 3:23-CV-00058-SLG, 2023 WL 7410730, at *12 (D. Alaska Nov. 9,
2023) (“Sovereign Iñupiat II”); see also Dakota Res. Council v. U.S. Dep’t of the
Interior, No. 22-CV-1853 (CRC), 2024 WL 1239698, at *9-12 (D.D.C. Mar. 22, 2024).

AIDEA v. U.S. Dep’t of the Interior                              Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                         19


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24     Page 27 of 51
explains that the Coastal Plain 2019 EIS “used the same model (MarketSim) as did [the

Bureau of Ocean Energy Management] and BLM in the cases cited above, which

excluded consideration of the impacts of foreign consumption on downstream GHG

emissions.” AR 5358; see also Sovereign Iñupiat I, 555 F. Supp. 3d at 763-65 (rejecting

DOI’s attempts to defend the initial GHG emissions NEPA analysis for the Willow

Project, concluding that “BLM’s greenhouse gas emissions analysis suffers from the

same flaws the Ninth Circuit identified in Liberty”).

       AIDEA fails to address the weight of this authority, seeking only to distinguish

Liberty. See Pl.’s Opening Br. 28-29. These arguments raise irrelevant factual

differences and fail to address recognition of Liberty’s holding in subsequent case law.7

Moreover, AIDEA ignores the relevant portions of this Court’s earlier analysis finding

that it was reasonable for DOI to revisit the Coastal Plain EIS and ROD in order to

conform to controlling case law. AIDEA, 685 F. Supp. 3d at 850-52.




7
        In support of its mistaken view that DOI faced a nondiscretionary obligation to
issue leases, AIDEA states “[i]ndeed, this Court has already held that DOI was ‘required’
to issue the leases.” Pl.’s Opening Br. 29 (quoting AIDEA, No. 3:21-cv-00245-SLG,
2023 WL 5021555, at *27 (D. Alaska Aug. 7, 2023) (filed prior to AIDEA being
published in the Federal Supplement, Third Series). The word “required” does not
appear on the cited page, which rejects the argument that DOI has unreasonably delayed
implementing any aspect of the Program. Id. Contrary to AIDEA’s inaccurate citation,
the analysis in this section of the Court’s decision does not say DOI had a
nondiscretionary obligation to issue leases but reiterates that DOI must “adhere[ ] to the
applicable procedures established by Congress in NEPA,” 685 F. Supp. 3d at 856, and
refers only to the lease sale timing provisions in concluding that “the operative statutes
governing the Program – primarily the Tax Act – do not prescribe any discrete steps that
Agency Defendants have yet failed to take.” Id. at 858.
AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          20


     Case 3:24-cv-00051-SLG           Document 52       Filed 06/07/24   Page 28 of 51
       In sum, the Cancellation Decision reflects DOI’s reasonable determination, in light

of a subsequently evolved line of authority including decisions by this Court, that the

2019 EIS and 2020 ROD creating the Program suffered serious legal deficiencies. DOI

thus properly chose, upon recognition of the Program’s legal insufficiency, to cancel

leases that were shown to have been improperly issued.

       B.     DOI Was Not Required to Take an Approach Other than Cancellation

       Plaintiff further argues that DOI was precluded as a matter of law from imposing

“the extreme remedy of lease cancellation where ordering mitigation was an available

proportional remedy.” Pl.’s Opening Br. 30; see also Am. Compl. ¶ 50. But Plaintiff

fails to meet its burden, which would require it to show that DOI was legally obligated to

address the Program’s NEPA insufficiency solely through mitigation. The law imposes

no such requirement, and DOI considered and reasonably explained why it concluded

that mitigation alone would not appropriately address the Program’s serious pre-leasing

legal defects. See AR 5355 n.4, 5358.

       The scant authority that AIDEA cites for its “proportional remedy” argument is

unpersuasive. See Pl.’s Opening Br. 30-31. Most significantly, Plaintiff has failed to

identify a single case holding that the Secretary’s inherent authority to cancel or suspend

improperly issued oil and gas leases is subject to the same principles governing remedy in

an Article III court. Because the cited cases articulate principles relating only to Article

III courts, they are irrelevant here.




AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          21


      Case 3:24-cv-00051-SLG            Document 52   Filed 06/07/24     Page 29 of 51
       Beyond that, each of the cases is readily distinguishable for additional reasons.

Beginning with Monsanto v. Geertson Seed Farms, the Supreme Court found a district

court had failed to make judicial findings necessary to justify a nationwide injunction.

561 U.S. 139, 165-66 (2010). Here, by contrast, DOI amply articulated a rational

connection between the facts found and the choice made, resulting in a decision

appropriately tailored to only the leases in question. Cook Inletkeeper v. Raimondo also

provides no support for Plaintiff’s arguments, because that case did not focus on NEPA

violations undergirding the entire project approval, as is the case here. 541 F. Supp. 3d

987, 992 (D. Alaska 2021). Cook Inletkeeper instead involved ESA violations relating to

“only a discrete set of tug operations” within a broader set of activities that “as a whole

will have negligible impact.” Id. And while AIDEA clips text from Finnbin, LLC v.

Consumer Product Safety Commission, 45 F.4th 127, 136-37 (D.C. Cir. 2022), for the

proposition that courts should observe severability principles when deciding how much

of a rule can be vacated and how much should be left intact, the instant case does not

involve a multipart rulemaking – it involves seven leases that the Secretary reasonably

determined had been improperly issued. Finally, AIDEA cites Belmont Municipal Light

Department v. FERC, 38 F.4th 173 (D.C. Cir. 2022), for the proposition that courts can

apply severability principles upon judicial review of agency adjudications, by severing

the offending parts of a decision and leaving the rest intact. Pl.’s Opening Br. 31.

Obvious procedural dissimilarities aside, Belmont does not support Plaintiff’s argument

because that court recognized that severability can apply only in the absence of evidence


AIDEA v. U.S. Dep’t of the Interior                              Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                         22


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24    Page 30 of 51
demonstrating “substantial doubt” whether the agency would have issued the narrower

order. Id. at 187-90. Here, DOI considered and rejected any suggestion of a “more

narrowly tailored remedy,” making it not only substantially doubtful but certain that DOI

did not intend to address the Program’s fundamental defects by imposing additional

mitigation measures on the leases.

       Moreover, even if principles governing judicial review somehow also governed

the Secretary’s exercise of authority under Boesche, AIDEA’s argument still fails

because this Court rejected a narrower approach in reviewing BLM’s initial approval of

the analogous Willow Project. There, the Court found that failing “to adequately analyze

a reasonable range of alternatives” and making “much the same error in its [GHG]

emissions analysis as BOEM did in Liberty” constituted “serious” errors warranting

vacatur of all Project approval decisions. Sovereign Iñupiat I, 555 F. Supp. 3d at 804.

The Court observed that “[v]acatur is the normal remedy under the APA” and reached

this conclusion notwithstanding the fact that many aspects of BLM’s analysis were

unchallenged or upheld by the Court. Id.; see also High Country Conservation Advocs. v.

U.S. Forest Serv., 67 F. Supp. 3d 1262, 1265 (D. Colo. 2014) (finding that “interrelated

agency decisions” containing “significant NEPA violations” are “more like a Gordian

knot that needs cutting than a simple tangle that the government can untie with a little

extra time” properly addressed on “a clean slate” following vacatur). So too here, DOI

“determined that the legal deficiencies undergirding the original lease sale were

sufficiently serious and fundamental to the decision-making process to justify addressing


AIDEA v. U.S. Dep’t of the Interior                             Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                        23


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24    Page 31 of 51
the underlying issues in a completely new analysis rather than trying to rectify past errors

through remedial NEPA analysis.” AR 5358. DOI reserves its right to take a different

approach with any future leases, but here it considered and decided against some

hypothetically narrower remedy that AIDEA now says it would have preferred.8 The

Cancellation Decision remedy analysis satisfies the APA.

       AIDEA’s argument that mitigation was legally required is incorrect. DOI

considered the possibility of mitigation but reasonably found that the Program’s

foundational legal flaws warranted lease cancellation.

       III.    AIDEA’s Political Pretext Claim Fails

       AIDEA contends that DOI’s “stated grounds for both the earlier lease suspension

and the subsequent lease termination were pretextual.” Am. Compl. ¶ 61. Specifically,

AIDEA points to a response to a question that “then-Candidate Biden” made before

taking office, and statements that Secretary Haaland made in a press conference, both

allegedly showing that neither official will ever allow any drilling for oil in the Refuge,

or “on federal lands period.” Id. AIDEA believes this “pretext” claim should “be briefed

later.” Pl.’s Opening Br. 7. But AIDEA’s characterizations are demonstrably false and

fail to discredit DOI’s stated rationale for the Lease Cancellation Decision. Defendants

therefore move for summary judgment on this claim because Plaintiff’s allegations fail to

demonstrate a genuine dispute of material fact.

8
       AIDEA did not propose or advocate for specific mitigation measures of the type it
alludes to in its briefing. And its briefing does not explain how the effects of downstream
GHG emissions arising from oil eventually produced under Coastal Plain leases could be
mitigated through stipulations on lease development.
AIDEA v. U.S. Dep’t of the Interior                              Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                         24


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24    Page 32 of 51
       AIDEA cannot establish a basis for a pretext claim in this case. It acknowledges

that “judicial review is sometimes limited to an agency’s stated reasons for the action”

but suggests that a court can “scrutinize those justifications to evaluate whether the stated

reasons are pretextual or mere distractions[.]” Am. Compl. ¶ 62 (citing Dep’t of Com.,

139 S. Ct. at 2575-76). But AIDEA fails to acknowledge that confining review to the

agency’s stated reasons for decision is presumptively proper, and that Department of

Commerce deviated from this approach only because “the sole stated reason” for the

challenged decision “seems to have been contrived” against a backdrop of other “unstated

reasons[.]” Dep’t of Com., 139 S. Ct. at 2575. In doing so, the Supreme Court observed

it was addressing “unusual circumstances” requiring consideration of the possible

existence of “something better than the explanation offered for the action taken in this

case.” Id. at 2576.

       Courts subsequently applying Department of Commerce have recognized that it

allows inquiry into pretext only in exceptional circumstances, and prohibits it absent such

circumstances. The Supreme Court has since reaffirmed that review will extend beyond

the stated reasons for an agency decision only upon a “strong showing of bad faith or

improper behavior.” Biden v. Texas, 597 U.S. 785, 811-12 (2022) (“The circumstances

in this case do not come close to those in Department of Commerce.”). Mere

“speculation about alleged improper political influence is not a ground for invaliding

agency action[.]” Confederacion de Asociaciones Agricolas del Estado de Sinaloa, A.C.

v. United States, 32 F.4th 1130, 1142 (Fed. Cir. 2022); see also Dallas Safari Club v.


AIDEA v. U.S. Dep’t of the Interior                              Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                         25


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24    Page 33 of 51
Bernhardt, 518 F. Supp. 3d 535, 544 (D.D.C. 2021) (“none of the reasons contained in

the DOI Memo are so lacking in credibility or so contradicted by other evidence as to

suspect them to be contrived”).

       Nothing here fits within the narrow holding of Department of Commerce. As

explained above at pages 16-20, the Lease Cancellation Decision reasonably explains the

demonstrated serious legal deficiencies in the NEPA analysis establishing the Program.

See also AR 5355-58. Without a lawfully established Program, there could not be

lawfully issued leases. Neither “unstated reasons” nor “political considerations” in the

backdrop to a decision support AIDEA’s inquiry, because “[s]uch decisions are routinely

informed by unstated considerations of politics, the legislative process, public relations,

interest group relations, foreign relations, and national security concerns (among others).”

Dep’t of Com., 139 S. Ct. at 2573. And this Court has found that DOI’s reasons to revisit

the Program “are tethered to a concern about legality and judicial review and not to some

unrelated concern, such as a political motivation or desire to address climate change.”

AIDEA, 685 F. Supp. 3d at 854. These concerns, “once addressed, should facilitate

Agency Defendants’ efforts to implement the Program in accordance with the law.” Id.

Agencies should be allowed to revisit their prior decisions to identify and correct errors.

See Ivy Sports Medicine, LLC v. Burwell, 767 F.3d 81, 86 (D.C. Cir. 2014). The mere

existence of political factors appearing to be “the catalyst for reconsideration” does not

undercut an agency’s “legitimate concern that [its prior] determinations had serious

procedural and substantive deficiencies.” Belville Min. Co. v. United States, 999 F.2d


AIDEA v. U.S. Dep’t of the Interior                              Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                         26


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24    Page 34 of 51
989, 998 (6th Cir. 1993). And DOI is not “adopt[ing] one legally supportable position

rather than another” solely to effectuate policy, but is instead “attempt[ing] to correct

legally erroneous . . . determinations that, left uncorrected, would be vulnerable to court

challenge because of the wholly inadequate process by which these determinations were

reached.” Id. at 999.9

       DOI presented compelling reasons justifying its decisions to initially suspend, and

then cancel, unlawfully issued leases. Given the sufficiency of this rationale, AIDEA’s

references to tangential policy statements fails to demonstrate a genuine dispute of

material fact. The Court should grant summary judgment to Defendants on the pretext

claim in Count II(B) of the Amended Complaint.




9
        AIDEA’s two pieces of “evidence” to show political pretext fall far short of the
Department of Commerce standard. One of those is a response to a question by then-
candidate Biden at a campaign event in early 2020, see Am. Compl. ¶ 61 (citing
https://www.c-span.org/video/?c4856989/user-clip-joe-biden-arctic-refuge (Feb. 9,
2020)). That statement was clearly superseded by Executive Order 13990 issued on
January 20, 2021, which reflects the Administration’s actual policy direction with respect
to the Program. The second, AIDEA’s interpretation of the Secretary’s statement that
upon lease cancellation “no one will have rights to drill” in the Refuge is merely an
accurate reflection of the consequences of cancellation of the leases, which had granted
certain rights to develop oil and gas resources. See id. DOI has not implemented a
blanket prohibition on all drilling on federal lands, but has approved oil and gas
development with suitable protections. Id.; see Sovereign Iñupiat II, 2023 WL 7410730;
see also https://www.blm.gov/programs-energy-and-minerals-oil-and-gas-oil-and-gas-
statistics (compiling information relating to BLM oil and gas leasing FY21-FY23);
https://www.blm.gov/programs/energy-and-minerals/oil-and-gas/operations-and-
production/permitting/applications-permits-drill (approved and pending BLM
applications for permits to drill FY20-FY24).
AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          27


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24     Page 35 of 51
       IV.    Cancellation Did Not Deprive AIDEA of Due Process

       AIDEA brings several claims contending that lease cancellation violated its due

process rights. But these arguments rely on inapplicable abstract principles and ignore

the relevant context and substance of the Cancellation Decision. Properly framed,

AIDEA’s due process arguments are easily rejected.

       A.     Constitutional Due Process

       AIDEA contends that its leases “were property interests entitled to the protection

of the due process clause in the Fifth Amendment to the Constitution” including notice

and an opportunity to be heard vis-à-vis lease cancellation. Pl.’s Opening Br. 19; see also

Am. Compl. ¶¶ 64-68. That is incorrect as a matter of law. The leases subsequently

shown to have suffered significant pre-leasing legal defects did not create constitutionally

protected property interests. And AIDEA was not deprived of notice or an opportunity to

address the identified legal deficiencies that formed the basis for lease cancellation.

       AIDEA seems to raise a procedural due process claim, which initially raises two

questions – was the claimant deprived “of a protected property interest,” and, if so, “what

process was due?” Amoco Prod. Co. v. Fry, 118 F.3d 812, 819 (D.C. Cir. 1997) (citation

omitted); see also Shanks v. Dressel, 540 F.3d 1082, 1090-91 (9th Cir. 2008). The

second inquiry further considers:

       First, the private interest that will be affected by the official action; second,
       the risk of an erroneous deprivation of such interest through the procedures
       used, and the probable value, if any, of additional or substitute procedural
       safeguards; and finally, the Government’s interest, including the function
       involved and the fiscal and administrative burdens that the additional or
       substitute procedural requirement would entail.

AIDEA v. U.S. Dep’t of the Interior                                Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                           28


      Case 3:24-cv-00051-SLG          Document 52      Filed 06/07/24     Page 36 of 51
Mathews v. Eldridge, 424 U.S. 319, 335 (1976); see also Shanks, 540 F.3d at 1090.

       AIDEA fails to carry its initial burden of showing that its unlawfully issued leases

gave rise to a protected property interest. See Pl.’s Opening Br. 19-20. Its first cited

case, Conner v. Burford, 848 F.2d 1441 (9th Cir. 1988), refers only in dicta to the

possibility that oil and gas leases are a protected property interest, but avoids any due

process analysis “[b]ecause the lessees’ property interests were not adjudicated in this

litigation[.]” Id. at 1461 n.52. And AIDEA’s other citation does not address the property

interest in a lease itself, but rather in withheld overpayments where the lessee had “an

entitlement to the return of the overpayments once the statutory prerequisites were

satisfied.” Amoco Prod. Co., 118 F.3d at 819.10 AIDEA’s leases were cancelled “based

on the seriousness of the pre-leasing legal errors given the special legal and factual

circumstances of the original leasing decisions, and on the minimal disruptive

consequences from cancellation.” AR 5359. This falls within “the Secretary’s traditional

administrative authority to cancel on the basis of pre-lease factors.” Boesche, 373 U.S. at

479. If a lease turns out to have been issued in violation of underlying law, “[n]o

property right was created, therefore no due process right was violated.” Shiny Rock Min.

Corp. v. United States, 825 F.2d 216, 219 (9th Cir. 1987). This analysis is often applied

in other contexts to conclude that a protected due process interest was never created. See

Bradley v. Vill. of Univ. Park, Illinois, 59 F.4th 887, 902 (7th Cir. 2023) (plaintiff’s

10
       AIDEA does not face similar circumstances because its lease bid and first year
rental payments have been fully refunded to ensure that “the consequences from
cancellation are minimal.” AR 5359.
AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          29


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24     Page 37 of 51
“employment contract was void ab initio, so it could not serve as the source of a federal

due process right”); Lum v. Kauai Cnty. Council, No. CIV 06-00068 SOM/BMK, 2007

WL 1482403, at *8 (D. Haw. May 18, 2007) (“void contracts create no property

interests”), aff’d, 358 F. App’x 860 (9th Cir. 2009).11 For similar reasons, AIDEA fails

to demonstrate that it ever acquired a constitutionally protected property interest in leases

that were unlawfully issued.

       Even if AIDEA temporarily possessed a protected property interest, it was

afforded an opportunity to be heard on the underlying legal defects resulting in lease

cancellation. The “essential requirements of due process . . . are notice and an

opportunity to respond” which may include an “opportunity to present reasons, either in

person or in writing, why proposed action should not be taken[.]” Cleveland Bd. of Educ.

v. Loudermill, 470 U.S. 532, 546 (1985). “Central to the evaluation of any administrative

process is the nature of the relevant inquiry.” Mathews, 424 U.S. at 343. At bottom,

sufficient process requires making known “the facts upon which judgment is based”

because “arbitrary action as well as error can be corrected by the reviewing court.”

United States v. Wood, Wire & Metal Lathers Int’l Union, Loc. Union No. 46, 471 F.2d

408, 416 (2d Cir. 1973); see also Hodel v. Va. Surface Min. & Reclamation Ass’n, Inc.,

452 U.S. 264, 303 (1981) (“‘It is sufficient, where only property rights are concerned,



11
       Whether AIDEA’s leases are characterized as void or voidable raises a distinction
without a difference. Even treating the leases as voidable rendered them a legal nullity
upon the exercise of Secretarial discretion to cancel the leases. See Hoopa Valley Tribe
v. U.S. Bureau of Reclamation, 648 F. Supp. 3d 1196, 1203 (E.D. Cal. 2022).

AIDEA v. U.S. Dep’t of the Interior                              Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                         30


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24    Page 38 of 51
that there is at some stage an opportunity for a hearing and a judicial determination.’”)

(quoting Ewing v. Mytinger & Casselberry, Inc., 339 U.S. 594, 599 (1950)).

       AIDEA was provided notice of the identified lease defects. On June 1, 2021, DOI

issued Secretary’s Order 3401 and the initial Lease Suspension Decision. See AR 3362,

3364-65. Subsequently, the August 19, 2022, “addendum” Decision identified “an

additional specific legal error.” AR 3404. That Decision stated that BLM would conduct

its additional NEPA analysis “to determine whether the leases should be affirmed, voided

or subject to additional mitigation measures. Once sufficient information is developed,

the BLM will issue a new decision concerning this suspension of operations and

production (SOP) of the above-referenced [Coastal Plain] leases.” AR 3405 (emphasis

added); see also AIDEA, 685 F. Supp. 3d at 826.

       AIDEA, and other commentors, availed themselves of the opportunity to be heard

on a range of topics relating to lease validity and the nature of any corrective action. On

October 4, 2021, AIDEA submitted scoping comments, AR 3793-800, contending that

DOI’s earlier NEPA analysis was sufficient, that a Supplemental EIS was not necessary,

and that DOI had failed to substantiate the “identified legal deficiencies” in Secretary’s

Order 3401 and the initial Suspension Decision, AR 3796-97. DOI’s scoping report

reflects this input, as well as input from numerous other commentors on the sufficiency

of the 2019 EIS and identified legal deficiencies. See AR 3811-12 (table summarizing

number of substantive comments by issue category); AR 3813-14 (summarizing NEPA

comments). And AIDEA has made well known its primary argument here, that the Tax


AIDEA v. U.S. Dep’t of the Interior                              Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                         31


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24     Page 39 of 51
Act mandated not only issuance but development of leases despite any underlying NEPA

deficiencies. See AIDEA, 685 F. Supp. 3d at 835, 850-52 (discussing interplay between

Tax Act and NEPA).

       The context of the relevant administrative process and nature of DOI’s inquiry is

uniquely relevant. DOI’s core inquiry was the adequacy of the 2019 EIS NEPA analysis

and associated legal sufficiency of the 2020 ROD establishing the Program. DOI’s

concerns first formed the basis for lease suspension, and ultimately, lease cancellation.

While AIDEA (and other stakeholders) expressed various opinions on these questions,

“NEPA requires only action by the [federal] government, no private party can comply

with NEPA.” Sierra Club v. EPA, 995 F.2d 1478, 1485 (9th Cir. 1993), abrogated on

other grounds by Wilderness Soc’y v. U.S. Forest Serv., 630 F.3d 1173 (9th Cir. 2011);

see also Wade v. Goldschmidt, 673 F.2d 182, 185-86 (7th Cir. 1982). DOI’s ultimate

conclusions about the legal insufficiency of the 2019 EIS are rational, as recognized by

the Court. And, most importantly, the insufficiency of the 2019 EIS is not something that

AIDEA (or any entity other than DOI) can rectify through “more process” in the hopes of

protecting an asserted property interest.

       In erroneously arguing it was deprived of any opportunity to address the

possibility of lease cancellation, AIDEA suggests its claim should be “buttressed by the

steps DOI took that led AIDEA to believe it would have the opportunity to defend the

legality of its leases” through a completed NEPA process. Pl.’s Opening Br. 21. The

argument contradicts the record. The initial suspension decision did suggest that BLM


AIDEA v. U.S. Dep’t of the Interior                             Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                        32


      Case 3:24-cv-00051-SLG          Document 52    Filed 06/07/24    Page 40 of 51
would revisit the “suspension of operations and production” on the leases when the

“additional NEPA analysis” was “complete.” AR 3365. But this direction was modified

in the August 2022 addendum explaining that BLM “will issue a new decision

concerning this suspension of operations and production” when “sufficient information is

developed[.]” AR 3405. The Cancellation Decision acknowledges these circumstances

and explains that sufficient information had become available at the Draft SEIS stage to

justify lease cancellation. AR 5358. And again, AIDEA’s position could not have been

differently or more effectively communicated through additional process, because the

Lease Cancellation Decision turned on DOI’s interpretation of a purely legal issue that

was solely within the purview of DOI to analyze.

       B.     Statutory Due Process

       AIDEA also argues that its “statutory due process” rights were violated because its

leases were “licenses” that were cancelled in violation of the APA. Pl.’s Opening Br. 22,

33-35 (opportunity to cure); see also Am. Compl. ¶¶ 74-79. But, as with AIDEA’s

constitutional claim, subsequent review and developed case law demonstrated that any

license obtained became null and void and there was nothing about the underlying legal

deficiencies that AIDEA could cure through further proceedings. DOI appropriately

exercised discretion rendering the leases void in light of the significance of the NEPA

deficiencies underlying DOI’s creation of the Program.

       AIDEA argues, based on 5 U.S.C. § 558(c), that a “license holder” is entitled to

“(1) notice of the charges that may result in adverse agency action; and (2) the


AIDEA v. U.S. Dep’t of the Interior                             Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                        33


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24    Page 41 of 51
opportunity of the license holder to defend against those charges and cure any defaults[.]”

Pl.’s Opening Br. 23. However, even if an oil and gas lease constitutes a “license” under

the APA, AIDEA fails to explain how it remained a “license holder” when DOI has

determined that its leases were unlawfully issued. AIDEA’s leases were cancelled as a

result of “the Secretary’s traditional administrative authority to cancel on the basis of pre-

lease factors” that exists regardless of “cancellations based on post-lease events” that

might arise under the APA (or MLA). Boesche, 373 U.S. at 478.12

       Moreover, AIDEA demonstrates no violation of § 558(c). DOI provided AIDEA

with notice of possible adverse action regarding its leases. See AR 3365, 3405. And

AIDEA was not deprived of an “opportunity to demonstrate or achieve compliance with

all lawful requirements.” 5 U.S.C. § 558(c)(2). “[T]he purpose of section 558(c) is to

provide individuals with an opportunity to correct their transgressions before the

termination or suspension of their licenses.” Air N. Am. v. Dep’t of Transp., 937 F.2d

1427, 1438 (9th Cir. 1991); see also Gallagher & Ascher Co. v. Simon, 687 F.2d 1067,

1074 (7th Cir. 1982) (characterizing the statutory provision as providing a licensee facing

revocation a “second chance . . . or an opportunity to put its house in lawful order”)



12
        AIDEA fails to address an additional threshold issue, because the first sentence
instructs that subsection (c) applies “[w]hen application is made for a license required by
law[.]” 5 U.S.C. § 558(c). A “license required by law” is typically one issued pursuant
to regulations to perform prescribed activities. See N.Y. Pathological & X-Ray Lab’ys,
Inc. v. Immigr. & Naturalization Serv., 523 F.2d 79, 82 (2d Cir. 1975). In contrast,
“general permits” subject to agency discretion do not fall within § 558(c). See Cal.
Sportfishing Prot. All. v. Lake Wildwood Ass’n, No. CV S-06-1026-WBS-EFB, 2006 WL
2734370, at *3 (E.D. Cal. Sept. 25, 2006).

AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          34


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24     Page 42 of 51
(internal quotation marks and citations omitted). AIDEA claims it could have done so

here by rehashing its arguments that Refuge leases were congressionally mandated and

exempt from “invalidity due to NEPA errors” or that DOI should have ordered mitigation

as an alternative to lease termination. Pl.’s Opening Br. 23-24; see also id. 35 (claiming

AIDEA could have “cured any defects by cooperating with the licensing agency’s efforts

to fix the licensing agency’s own errors”). DOI squarely considered and rejected those

positions. See AR 5355-59.

       AIDEA’s cited cases are not to the contrary. Those cases involved adverse agency

proceedings based on factual inquiry into permit violations or allegations of

noncompliance. See Anchustegui v. Dep’t of Agric., 257 F.3d 1124, 1129 (9th Cir. 2001);

Clarke v. Commodity Futures Trading Comm’n, 74 F.4th 627, 642 (5th Cir. 2023) (both

finding that agency had improperly determined how to address noncompliance before

allowing the licensee an opportunity to respond); see also Fence Creek Cattle Co. v. U.S.

Forest Serv., 602 F.3d 1125, 1135-36 (9th Cir. 2010) (rejecting challenge because

grazing permittee received “notice and fair opportunity . . . to answer [the agency’s]

concerns”). AIDEA’s cases do not address a “license” that was improperly issued due to

underlying legal errors. Rather than AIDEA’s cited cases, this case is more like Ursack

Inc. v. Sierra Interagency Black Bear Group, 639 F.3d 949 (9th Cir. 2011), because

AIDEA “is not asking for notice and a chance ‘to demonstrate or achieve compliance

with all lawful requirements.’ Instead, [AIDEA] wants to argue with [DOI]” about the




AIDEA v. U.S. Dep’t of the Interior                             Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                        35


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24    Page 43 of 51
sufficiency of DOI’s “decision to adopt the relevant lawful requirements” undergirding

lease issuance. Id. at 962-63 (quoting 5 U.S.C. § 558(c)).

       AIDEA’s leases became void based on DOI’s determination that adoption of the

Program suffered significant legal errors. AIDEA could not “cure” this outcome because

the pivotal determination was solely DOI’s to make. Therefore, AIDEA’s claim that it

was deprived of statutory due process under § 558(c) must fail.

       V.    Petroleum Reserve Regulations Do Not Preclude Lease Cancellation

       AIDEA’s final argument contends that regulations addressing oil and gas

development in the National Petroleum Reserve – Alaska (“NPR-A”) require a court

order to cancel leases, precluding DOI’s issuance of the Lease Cancellation Decision.

See Pl.’s Opening Br. 35; see also Am. Compl. ¶¶ 70-73. Even if these regulations were

to apply to cancellation of leases in the Refuge, they do not apply to or diminish the

Secretary’s inherent authority to cancel improperly issued leases. And AIDEA fails to

explain how implementation of the regulatory provision would work here, or how any

invocation of that process would affect the outcome or otherwise change the analysis of

the serious legal deficiencies underlying creation of the Program.

       At the outset, the NPR-A regulations only apply to the Refuge in the narrow

context prescribed by the Tax Act, which states that “the Secretary shall manage the oil

and gas program on the Coastal Plain in a manner similar to the administration of lease

sales under the Naval Petroleum Reserves Production Act of 1976 [42 U.S.C. 6501 et

seq. (including regulations)].” Tax Act § 20001(b)(3) (emphasis added). The regulations


AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          36


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24     Page 44 of 51
contain distinct provisions addressing lease sales. See 43 C.F.R. Subparts 3131, 3132

(2024). The Court need not reach this issue to reject AIDEA’s argument under the NPR-

A regulations, but the statutory text does not support AIDEA’s view that additional NPR-

A regulations, including those that address lease cancellation, must apply to the

Program.13

       Further, the NPR-A regulations exist to address lessee noncompliance, which is

not at issue here. Section 3136.3 addresses “[c]ancellation of leases” and contains two

subsections. See 43 C.F.R. § 3136.3 (2024). AIDEA fixates on the second addressing

“[p]roducing leases or leases known to contain valuable deposits of oil or gas[.]” Id. at

(b). But this must be read in conjunction with the first subsection, which clarifies that

nonproducing leases may be cancelled “by the authorized officer” for lessee failure to

comply with requirements under statute, regulation, or terms of the lease. Id. at (a).

Properly interpreted, Section 3136.3 speaks only to a situation where DOI seeks to

address lessee noncompliance through cancellation, which for nonproducing leases it

may do administratively but for producing leases it must do by initiating judicial

enforcement proceedings. Operations under AIDEA’s leases never commenced and the

regulations addressing lessee noncompliance are therefore inapplicable.




13
       Additionally, the Court need not make some detailed (or extra-record) factual
inquiry into the meaning or application of the regulatory phrase “known to contain
valuable deposits of oil or gas” in order to reject AIDEA’s argument under the NPR-A
regulations.

AIDEA v. U.S. Dep’t of the Interior                              Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                         37


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24     Page 45 of 51
       The existence of the NPR-A regulations does not alter Boesche’s recognition of

inherent Secretarial authority to cancel leases. AIDEA contends that Boesche considered

materially different provisions of the MLA, but these arguments are unavailing. See Pl.’s

Opening Br. 36-39. The statutory provision at issue in Boesche stated:

       Except as otherwise herein provided, any lease issued under the provisions
       of * * * (this Act) may be forfeited and canceled by an
       appropriate proceeding in the United States district court for the district
       in which the property, or some part thereof, is located whenever the lessee
       fails to comply with any of the provisions of * * * (the Act), of the lease,
       or of the general regulations promulgated under * * * (the Act) and in force
       at the date of the lease * * *.

       Any lease issued after August 21, 1935, under the provisions of * * * (s 17
       of the Act, 30 U.S.C. s 226) shall be subject to cancellation by the Secretary
       of the Interior after thirty days’ notice upon the failure of the lessee to
       comply with any of the provisions of the lease, unless or until the land
       covered by any such lease is known to contain valuable deposits of oil or
       gas.

Boesche, 373 U.S. at 475 (quoting 30 U.S.C. § 188); see also Pl.’s Opening Br. 36

(quoting same). Boesche argued that this section provided “the exclusive source of the

Secretary’s power to forfeit a lease once it has been issued,” and, that “the section, by its

second paragraph, limits administrative cancellation to instances where a lessee has failed

to comply with the terms of the lease and then only so long as the land is not known to

contain oil or gas[.]” Boesche, 373 U.S. at 475. The Secretary responded by arguing that

the statute and regulations “apply only to events . . . occurring after a lease has been

issued” and that “the Secretary’s authority to cancel on the basis of pre-lease events is

found not in [§] 31 but in his general powers of management[.]” Id. at 476.




AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          38


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24     Page 46 of 51
       The Supreme Court decisively rejected Boesche’s arguments, and any derivations

therefrom now raised by AIDEA, in clarifying the Secretary’s inherent authority to take

certain action outside the statutory or regulatory scheme. First, it found the Secretary

possessed “general powers of management over the public lands” including “authority to

cancel this lease administratively for invalidity at its inception, unless such authority was

withdrawn by the [MLA].” Id. Next, notwithstanding the statutory language, the Court

found the Act “reaches only cancellations based on post-lease events and leaves

unaffected the Secretary’s traditional administrative authority to cancel on the basis of

pre-lease factors.” Id. at 478-79. In addressing the specific language limiting

cancellation to judicial proceedings, the Court found that such provision “clearly assumes

the existence of a valid lease.” Id. at 479 (emphasis added). Where a lease was

unlawfully issued, the limiting language does not apply because such a lease “has not

been issued at the time the breach of the Act or regulations occurs, for [there] is at that

time no lease to cancel.” Id.

       AIDEA fails to explain why this same analysis does not apply here. There is no

functional difference between Boesche’s interpretation of limitations on Secretarial

authority imposed by the MLA and AIDEA’s interpretation of limitations on the same

authority under the NPR-A regulations. AIDEA necessarily makes (or implies)

Boesche’s arguments that the statute (or regulations) create “the exclusive source of the

Secretary’s power to forfeit a lease” and that “administrative cancellation” can only occur

in strict compliance with prescribed circumstances, which preclude administrative


AIDEA v. U.S. Dep’t of the Interior                               Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                          39


      Case 3:24-cv-00051-SLG          Document 52     Filed 06/07/24     Page 47 of 51
cancellation of leases “known to contain oil or gas[.]” Boesche, 373 U.S. at 475. The

Supreme Court left no room for this interpretation, finding that a lease rendered invalid

“on the basis of pre-lease factors” was a legal nullity that “has not been issued” in a way

requiring application “of the Act or regulations.” Id. at 479. Moreover, DOI considered

the possibility of “address[ing] procedural errors by completing an additional process

post hoc” and reasonably decided against doing so here “given the gravity of the errors

and minimal consequences of cancellation.” AR 5355 n.4.

       Instead, AIDEA tries to distinguish Boesche by claiming the NPR-A regulations

reflect DOI’s choice “to limit its inherent powers by adopting a regulation requiring it to

obtain a court order to cancel a lease[.]” Pl.’s Opening Br. 37. But it fails to explain how

or why the regulation applies to the exercise of such inherent authority. And insofar as

AIDEA’s view is based on some sense of fairness or intuition, it is illogical. Certainly,

DOI never intends to issue leases suffering legal defects such as in Boesche or under the

Program, and recognition of the agency’s inherent ability to correct its own mistakes

“do[es] not warrant initial submission to the judicial process” and “serves to protect the

public interest in the administration of the public domain.” Boesche, 373 U.S. at 484.

       Finally, AIDEA fails to explain how DOI would institute proceedings to obtain a

court order cancelling leases based on DOI’s own commission of legal error. And

regardless of how such a procedure might unfold, it would not alter the straightforward

analysis of the legal defects underlying creation of the Program. In any event, this Court

will consider and rule upon the sufficiency of DOI’s reasoning. Whether it does so in


AIDEA v. U.S. Dep’t of the Interior                              Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                         40


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24    Page 48 of 51
this proceeding or one instituted by DOI is ultimately of little practical effect. See PDK

Lab’ys Inc. v. DEA, 362 F.3d 786, 799 (D.C. Cir. 2004). AIDEA has not shown

prejudice through DOI’s approach to cancelling leases based on information developed

through supplemental NEPA analysis that was required to address serious errors in

creating the Program.

       VI.     Remedy

       AIDEA fails to engage with the question of remedy, stating only that based on its

arguments the Court “should vacate DOI’s unlawful Lease Cancellation Decision.” Pl.’s

Opening Br. 55. Even if AIDEA were to prevail on the merits, however, it would not be

entitled to vacatur. Cal. Cmtys. Against Toxics v. EPA, 688 F.3d 989, 992 (9th Cir. 2012)

(citations omitted). When “equity demands,” courts may leave in place an agency action

“while the agency follows the necessary procedures to correct” its error. Id. (internal

quotation marks and citation omitted). Whether an agency action should be vacated

depends on several factors, including “how serious the agency’s errors are ‘and the

disruptive consequences of an interim change that may itself be changed.’” Id. (quoting

Allied-Signal, Inc. v. U.S. Nuclear Regul. Comm’n, 988 F.2d 146, 150-51 (D.C. Cir.

1993)). The circumstances here might not only require consideration of the Court’s

ruling on the merits, but also additional factors outside the record, including the outcome

of a 2024 lease sale and whether reinstatement of leases might trigger resumption of the

stayed cases challenging the 2019 EIS and 2020 ROD. AIDEA has not addressed these




AIDEA v. U.S. Dep’t of the Interior                             Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                        41


     Case 3:24-cv-00051-SLG           Document 52    Filed 06/07/24    Page 49 of 51
issues, and further proceedings would be appropriate should there be any occasion for the

Court to consider remedy.

                                       CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiff’s motion, grant

Defendants’ cross-motion, enter judgment for Defendants, and dismiss this case with

prejudice.

       Respectfully submitted this 7th day of June 2024.

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AIDEA v. U.S. Dep’t of the Interior                            Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                       42


     Case 3:24-cv-00051-SLG           Document 52   Filed 06/07/24    Page 50 of 51
                         CERTIFICATE OF COMPLIANCE
       Consistent with Local Civil Rule 7.4(a), I hereby certify that this memorandum
complies with the type-volume limitation of Local Civil Rule 7.4(a)(1) as modified by
applicable order of the Court, ECF No. 49, which provides that Defendants shall have 80
pages (or 22,000) words to divide between this memorandum and the memorandum
presently scheduled for filing on August 16, 2024. At that time counsel will confirm that
the two memoranda fall within the specified type-volume limitation.

                                       /s/ Paul A. Turcke
                                         Paul A. Turcke


                            CERTIFICATE OF SERVICE
       I hereby certify that on June 7, 2024, a copy of the foregoing was served by
electronic means on all counsel of record by the Court’s CM/ECF system.

                                      /s/ Paul A. Turcke
                                          Paul A. Turcke




AIDEA v. U.S. Dep’t of the Interior                              Case No. 3:24-cv-00051-SLG
DEFS.’ MEM. ON MOTS. FOR SUMM. J.                                                         43


     Case 3:24-cv-00051-SLG           Document 52      Filed 06/07/24   Page 51 of 51
